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                         IN TH E UN ITED STATES D ISTRICT COU RT
                         FOR THE W ESTERN D ISTR IC T OF VIRG INIA                          JULIA C. UDLEY      K
                                 H A RRISONBU RG DIV ISION                                3Y:
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U N ITED STA TES O F A M ER ICA ,
                                                      Crim inalAction N o.5:07CR00063-004

                                                      M EM O M N DU M O PIN IO N
JO SE LUIS CORTES G ON ZA LEZ,
                                                      By:Hon.Glen E.Conrad
       D efendant.                                    ChiefU nited States D istrictJudge

       Thiscaseispresently before thecourtontheissueofwhetherthedefendantshouldreceive a

reductioninsentence,pursuantto 18U.S.C.j3582(c)(2)andAmendment750totheUnitedStates
Sentencing Guidelines. Forthe following reasons,the courtw illdeny the defendant's m otion to

reducehisterm ofim prisonm ent.

       On M ay 14,2008,the defendant,Jose LuisCortesGonzalez,pled guiltyto conspiringto

possess with the intentto distribute m ore than five kilogrnm sofpow dercocaine and m ore than 50

gramsofcrack cocaine,in violation of21U.S.C.jj841(a)(1)and(b)(1)(A)and846)and
possessionofafirearm inrelationtoadrugtraffickingcrime,inviolationof18U.S.C.j924(c).
The defendantw assentenced on April16,2009. U nderthe advisory sentencing guidelines,the

defendanthad a totaloffense levelof29 and a crim inalhistory category of1,resulting in a guideline

rangeofim prisonmentof120 monthson thedrug conviction,plusa consecutive 60 monthson the

tireann conviction.lThecourtimposed atotaltenu ofimprisonmentof180months(120monthson
thedrugconviction,plusaconsecutive60monthsonthefirearm conviction).OnM arch 15,2011,
in responsetoa remand from theUnited StatesCourtofAppealsfortheFourth Circuitin which the


         1W ith a totaloffense levelof29 and a crim inalhistory category of1, the defendant'sguideline
 rangeofimprisonmentwould havebeen87monthsto l08months.However,thisdefendantwassubject
 to amandatory minimum sentenceof120 monthsonthedrugconviction,pursuantto21U.S.C.j
 84l(b)(1)(A),andamandatory consecutivesentenceof60monthsonthefirearm conviction,pursuantto
 18U.S.C.j924(c).W herethestatutorilyrequired minimum sentenceisgreaterthanthemaximum of
 theapplicableguidelinerange,the statutorily required m inim um sentence becom esthe advisory guideline
 sentence.U.S.S.G.j5Gl.1(b).
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FourthCircuitvacatedthedefendant'sfirearm conviction,thiscourtentered anamendedjudgment,
reducing the defendant'stotalsentence to 120 m onths,based on the rem aining drug conviction.

       Ptzrsuantto its statutory authority,the U nited States Sentencing Com m ission has

prom ulgated aperm anentam endmentto thesentencing guidelinesapplicableto crim inalcases

involving cocainebaseorcrack cocaine,which implementstheprovisionsoftheFairSentencing

Actof2010(Amendment750).OnJune30,2011,theSentencingCommissionfurtherdecided
that,effectiveNovember1,2011,thenmended guidelineprovisionswillapply retroactively to

offenderswho were sentenced underpriorversionsofthe sentencing guidelines,and who arestill

incarcerated. Stated generally,the practicaleffectoftheSentencing Com mission'sactionsisthat

certain federaldefendantsconvicted ofoffensesinvolving crack cocainem ay beeligiblefora

reductionintheircurrentsentences,pursuantto18U.S.C.j3582(c)(2).
       The defendantfiled a pro se m otion to reduce his sentence on N ovem ber7,2011. Having

consideredthedefendant'smotion,thecourtisconstrained to concludethatitmustbedenied.

       ûtsection3582(c)(2)authorizesadistrictcourttomodifyadefendant'sterm ofimprisonment
when the defendanttis sentenced to atenn ofim prisonm entbased on a sentencing range thathas

subsequently been lowered by the Sentencing Comm ission.'''United Statesv.Hood,556 F.3d 226,

231(4thCir.2009)(quoting 18U.S.C.j3582(c)(2))(emphasisinoriginal).Thus,tobethebasisof
areductionunderj3582(c)(2),anamendmenttothesentencingguidelinesûimusthaveStheeffectof
loweringthedefendant'sapolicableguidelinerange.'''Id.(quotingU.S.S.G.jIB1.l0(a)(2)(B))
(emphasisinoriginal).
       Intheinstantcase,thedefendantwassubjecttoastatutorilymandatedminimum tennof
imprisonmentof120months.21U.S.C.j841(b)(1)(A).Becausetheminimum term of
imprisonmentrequiredby j841(b)(1)(A)wasgreaterthantheguidelinerangethatotherwisewould
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have applied atthe tim e the defendantw as sentenced,supra notel,hisguideline range becnm e 120

months.U.S.S.G,j5G1.1(b).Althoughj841(b)(1)(A)wasrecentlyamendedbytheFair
Sentencing Act,the changestothe statute do notapply retroactively to reduceorelim inatethe

mandatoryminimllm penaltiestowhichthedefendantwassubjectatthetimeofhisoriginal
conviction.SeeUnited Statesv.Bullard,645F.3d 237,248(4th Cir.2011)(holdingthattheFair
SentencingActdoesnotapplyretroactivelytodefendantssentencedbeforeitwasenacted).Asa
result,thedefendantisstillsubjecttoastatutorilyrequiredminimllm term ofimprisonmentof120
m onthsandstherefore,hisguideline rangerem ainsthesnmeundertheamended guideline

provisions.Accordingly,asentencereductionisnotauthorizedunderj3582(c)(2),since
A m endm ent750 doesnothave the effectoflow ering the defendant's applicable guidelinerange.

SeeU.S.S.G.j1B1.10app.n.1(A)(explainingthatareductioninadefendant'stennof
imprisonmentisnotauthorizedunderj3582(c)(2)ifçktheamendmentdoesnothavetheeffectof
low ering the defendant'sapplicable guideline range because ofthe operation ofanotherguideline or

statutoryprovision(e.c.,astatutorymandatoryminimum term ofimprisonmentl').Forthese
reasons,thedefendant'smotion forreduction in sentencemustbedenied.

       The Clerk isdirected to send certified copies ofthism em orandum opinion and the

accom panying orderto the defendantand a11counselofrecord.

       ENTER:This Y        dayofDecember, 2011.


                                                                             oW
                                                       ChiefU nited StatesD istrictJudge
